Case 2:18-cv-01497-ODW-SS Document 15 Filed 04/09/18 Page 1 of 3 Page ID #:40




 1   CENTER FOR DISABILITY ACCESS
     Ray Ballister, Jr., Esq., SBN 111282
 2   Phyl Grace, Esq., SBN 171771
     Dennis Price, Esq., SBN 279082
 3    Mail: PO Box 262490
     San Diego, CA 92196-2490
 4   Delivery: 9845 Erma Road, Suite 300
     San Diego, CA 92131
 5   (858) 375-7385; (888) 422-5191 fax
     phylg@potterhandy.com
 6   Attorneys for Plaintiff
 7   JEFFREY E. LIEBER (SBN: 71683)
     jefflieber@sbcglobal.net
 8   LAW OFFICES OF JEFFREY E. LIEBER
     5550 Topanga Canyon Boulevard, Suite 200
 9   Woodland Hills, CA 91367-6496
     Telephone: (818) 703-8173
10   Facsimile: (818) 703-8175
     Attorney for Defendants
11   Maroun K. Boutros and Nada Boutros
12                                 UNITED STATES DISTRICT COURT
13                                CENTRAL DISTRICT OF CALIFORNIA
14   CHRIS LANGER,                             ) Case No.: 2:18-CV-01497-ODW-SS
                                               )
15              Plaintiff,                     )
                                               ) JOINT NOTICE OF SETTLEMENT
16   v.                                        )
17   MAROUN K. BOUTROS, in individual ))
     and representative capacity as trustee of )
18   the Boutros Family Trust dated July 22,
     2015;                                     )
     NADA BOUTROS, in individual and           )
19   representative capacity as trustee of the )
     Boutros Family Trust dated July 22, 2015; )
20   and Does 1-10,                            )
                                               )
21              Defendants.
22
23
24
25
26
27
28


     Joint Notice of Settlement            -1-          2:18-CV-01497-ODW-SS
Case 2:18-cv-01497-ODW-SS Document 15 Filed 04/09/18 Page 2 of 3 Page ID #:41




 1          The Parties hereby jointly notify the court that a global settlement has been
 2   reached in the above-captioned case and the parties would like to avoid any additional
 3   expense, and further the interests of judicial economy.
 4           All Parties, therefore, apply to this Honorable Court to vacate all currently set
 5   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to
 6   all parties will be filed within 60 days. The Parties further request that the Court
 7   schedule a Status Conference/OSC Hearing approximately 60 days out at which the
 8   Parties, by and through their attorneys of record shall show cause why this case has not
 9   been dismissed.
10
11   Dated: April 9, 2018                   CENTER FOR DISABILITY ACCESS
12
                                            By: /s/ Phyl Grace
13                                                 Phyl Grace
                                                   Attorneys for Plaintiff
14
15   Dated: April 9, 2018                   LAW OFFICES OF JEFFREY E. LIEBER
16
17                                          By: /s/ Jeffrey E. Lieber
18
                                                   Jeffrey E. Lieber
                                                   Attorney for Defendants
19                                                 Maroun K. Boutros and Nada Boutros
20
21
22
23
24
25
26
27
28


     Joint Notice of Settlement          -2-                   2:18-CV-01497-ODW-SS
Case 2:18-cv-01497-ODW-SS Document 15 Filed 04/09/18 Page 3 of 3 Page ID #:42




 1                         SIGNATURE CERTIFICATION
 2
 3   I hereby certify that the content of this document is acceptable to Jeffrey E. Lieber,
 4   counsel for Maroun K. Boutros and Nada Boutros, and that I have obtained Mr.
 5   Lieber’s authorization to affix his electronic signature to this document.
 6
 7   Dated: April 9, 2018                   CENTER FOR DISABILITY ACCESS
 8
                                            By: /s/ Phyl Grace
 9                                                 Phyl Grace
                                                   Attorney for Plaintiff
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Joint Notice of Settlement           -3-                2:18-CV-01497-ODW-SS
